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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK


         In re:                                                 Case No. 23-43643 (JMM)

         SHOWFIELDS, INC., et. al.,                             Chapter 11

                                               Debtors.         (Jointly Administered)


     ORDER GRANTING MOTION of UNITED STATES TRUSTEE TO CONVERT
         CHAPTER 11 (SUBCHAPTER V) CASES TO CHAPTER 7 CASES

       Upon the motion (ECF No. 102, the “Motion”) of William K. Harrington, United States

Trustee for Region 2 (the “United States Trustee”), pursuant to sections 1112(b) and 105(a) of

title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”),

for entry of an order converting the chapter 11 (subchapter V) cases (the “Bankruptcy Cases”) of

the above-captioned debtors (the “Debtors”) to cases under chapter 7 of the Bankruptcy Code;

and the Court having found that appropriate notice of the Motion was given and no other or

further notice was required under the circumstances; and the Court having conducted a hearing

on the Motion on March 13, 2024; and objections to the relief sought in the Motion having been

withdrawn or overruled at the hearing; and the Court having found that cause exits for converting

the Bankruptcy Cases to cases under chapter 7; and the Court having found that conversion of

the Bankruptcy Cases is in the best interests of creditors and the estate; now therefore it is hereby

       ORDERED, that the Bankruptcy Cases are converted to cases under chapter 7 of the

Bankruptcy Code pursuant to 11 U.S.C. § 1112(b); and it is further

       ORDERED, that the United States Trustee is directed to appoint a chapter 7 trustee for

the Bankruptcy Cases; and it is further
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          ORDERED, that Yann Geron, the Subchapter V Trustee shall be, and is hereby

terminated and discharged of his duties as Subchapter V Trustee for the Debtors’ cases; and it is

further

          ORDERED, that, (i) within 14 days after the date of entry of this Order, the Debtors shall

file schedules of unpaid debts incurred after the filing of the petition and before conversion of the

case, including the name and address of each holder of a claim, and (ii) not later than 30 days

after the date of entry of this Order, file and transmit to the United States trustee a final report

and account; and it is further

          ORDERED, not later than five (5) business days after the appointment of a chapter 7

trustee for the Bankruptcy Cases, the Debtors and each of their current and former officers shall

turnover to the trustee all records and property of the estates in their possession and provide an

accounting of all property held by or any behalf of the Debtors since the petition date.




 Dated: March 15, 2024                                              ____________________________
        Brooklyn, New York                                                 Jil Mazer-Marino
                                                                     United States Bankruptcy Judge
